          Case 2:20-cv-01493-CCW Document 59 Filed 03/31/22 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

HENRENA JOHNSON,                                  )
BARBARA DEMPS, and JOHN                           )
                                                  )               2:20-CV-01493-CCW
MCCAULEY,                                         )
                                                  )
                 Plaintiffs,                      )
         v.                                       )
                                                  )
                                                  )
THE PNC FINANCIAL SERVICES                        )
GROUP, INC.,                                      )
THE PNC FINANCIAL SERVICES                        )
                                                  )
GROUP, INC INCENTIVE SAVINGS                      )
PLAN ADMINISTRATIVE COMMITTEE,                    )
DOES NO. 1 -20,                                   )
                                                  )
                 Defendants.                      )

                                             ORDER
        AND NOW this 31st day of March, 2022, upon consideration of Defendants’ Motion to

Dismiss Plaintiffs’ Amended Complaint, ECF No. 46, and the briefing submitted in support of and

opposition thereto, see ECF No. 58 (Memorandum Opinion), it is hereby ORDERED that

Defendants’ Motion is GRANTED IN PART AND DENIED IN PART, as follows: The portion

of Count I asserting a claim for the breach of the duty of loyalty under the Employee Retirement

Income Security Act (“ERISA”), 29 U.S.C. § 1001, et seq. is DISMISSED, with prejudice. Defendants’

Motion is otherwise DENIED.

        IT IS FURTHER ORDERED that Defendants shall file an Answer to the Amended Complaint on

or before April 14, 2022.

        IT IS SO ORDERED.

                                             BY THE COURT:

                                             /s/ Christy Criswell Wiegand
                                             CHRISTY CRISWELL WIEGAND
                                             United States District Judge
         Case 2:20-cv-01493-CCW Document 59 Filed 03/31/22 Page 2 of 2




cc (via ECF email notification):
All Counsel of Record
